   Case 1:18-cr-00209-LO Document 12 Filed 09/07/18 Page 1 of 3 PageID# 52



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       No. 1:18-cr-209
                                             )
REYNALDO B. REGIS,                           )
                                             )
   Defendant.                                )

           GOVERNMENT’S UNOPPOSED MOTION TO CONTINUE SENTENCING

       The United States, by and through its undersigned counsel, respectfully moves this Court

to continue the sentencing hearing in the above-captioned matter, currently set for September 23,

2018, to Friday, November 2, 2018, at 9:00 am. The defendant does not object to this motion.

       The defendant has been participating in debriefing sessions with the government

regarding the conduct at issue in this case. The government believes it would be beneficial to the

parties and to the court to postpone sentencing until the defendant’s ongoing cooperation is

complete, which they anticipate will be in the next few weeks.

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       /
   Case 1:18-cr-00209-LO Document 12 Filed 09/07/18 Page 2 of 3 PageID# 53



       As described above, the defendant does not object to the proposed continuance.

Therefore, the United States respectfully asks that the sentencing date in the above-captioned

matter be continued to Friday, November 2, 2018, at 9:00 am.



                                             G. Zachary Terwilliger
                                             United States Attorney


                                         By: ______/s/     __________________
                                             Danya E. Atiyeh
                                             Assistant United States Attorney
                                             United States Attorney’s Office
                                             Eastern District of Virginia
                                             2100 Jamieson Avenue
                                             Alexandria, VA 22314
                                             (703) 299-3700
                                             (703) 299-3982 (fax)
                                             danya.e.atiyeh@usdoj.gov




                                                2
   Case 1:18-cr-00209-LO Document 12 Filed 09/07/18 Page 3 of 3 PageID# 54



                                 CERTIFICATE OF SERVICE

       I certify that on September 7, 2018, I filed the foregoing using the ECF system, which

will send a copy to defense counsel of record.

                                                                    /s/
                                                     Danya E. Atiyeh
                                                     Virginia Bar No. 81821
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     2100 Jamieson Ave.
                                                     Alexandria, VA 22314
                                                     (703) 299-3700
                                                     (703) 299-3982 (fax)
                                                     danya.atiyeh@usdoj.gov




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